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                    EXHIBIT H
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              An official website of the United States government
       Here's how you know




         PubMed Overview
         PubMed is a free resource supporting the search and retrieval of biomedical and life sciences literature with the aim of improving health–
         both globally and personally.

         The PubMed database contains more than 36 million citations and abstracts of biomedical literature. It does not include full text journal
         articles; however, links to the full text are often present when available from other sources, such as the publisher's website or PubMed
         Central (PMC).

         Available to the public online since 1996, PubMed was developed and is maintained by the National Center for Biotechnology Information
         (NCBI), at the U.S. National Library of Medicine (NLM), located at the National Institutes of Health (NIH).



         About the Content

         Citations in PubMed primarily stem from the biomedicine and health fields, and related disciplines such as life sciences, behavioral sciences,
         chemical sciences, and bioengineering.

         PubMed facilitates searching across several NLM literature resources:


         MEDLINE

         MEDLINE is the largest component of PubMed and consists primarily of citations from journals selected for MEDLINE; articles indexed with
         MeSH (Medical Subject Headings) and curated with funding, genetic, chemical and other metadata.

         PubMed Central (PMC)

         Citations for PubMed Central (PMC) articles make up the second largest component of PubMed.

         PMC is a full text archive that includes articles from journals reviewed and selected by NLM for archiving (current and historical), as well as
         individual articles collected for archiving in compliance with funder policies.


         Bookshelf

         The final component of PubMed is citations for books and some individual chapters available on Bookshelf.

         Bookshelf is a full text archive of books, reports, databases, and other documents related to biomedical, health, and life sciences.



         Additional Resources

             For how-to information on searching the PubMed database, see the PubMed User Guide.

             For additional PubMed documentation, visit NLM's MEDLINE and PubMed resources guide.

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